Case 2:03-CV-02760-SHI\/|-STA Document 37 Filed 08/31/05 Page 1 of 2 Page|D 40

onsvii{ Dc.

uN:TED sTATEs nIsTRIcT couRm
wEsTERN nIsTRIcT oF TENNESSEE USAUGS| PH 5=26
wEsTERN DIVISIoN

 

_}JL…x-*“‘D

UEHQL
WFM:~-¢
v,l \;1 “1', ,..

KENNETH W. STE‘WLRT,r

Plaintiff,
v. Cv. No. 03-2760-Ma
NEWTON WRIGHT, et al.,

Defendants.

JUDGMENT

Decision by Court. This action came for consideration before
the Court. The issues have been duly considered and a decision has
been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed with
prejudice, in accordance with the Order of Dismissal, docketed
August 23, 2005.

APPROVEL (/ mcf-

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

,
A*-J~'i 31. md THoMAsMeou.n
DATE CLERK

 

 

 

 
   

(By) DE TY CLERK

Ti-is document entered on ihe docket sheet in caD;mce
wthme§bandmz?§w)FHCPon___ '

32

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:03-CV-02760 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

Arthur CroWnover

OFFICE OF THE ATTORNEY GENERAL
P.O. BOX 20207

Nashville, TN 37202--020

Honorable Samuel Mays
US DISTRICT COURT

